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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


                                                             Case No. 18-CV-61717-RKA




        LYONS CAPITAL LLC,

                             Plaintiff,

        vs.

        SHIFTPIXY, INC., et al.,

                       Defendants.
     ____________________________________/


                                    MEDIATOR’S FINAL REPORT

              PLEASE TAKE NOTICE that the above-referenced action was mediated before

        the undersigned on April 11, 2019, pursuant to the Court’s Order of Reference to

        Mediation [DE 7].

              The Court should take further notice of the following:

              1.     All parties or authorized representatives of the parties and their counsel

                     appeared in person.

              2.     As previously reported, the undersigned adjourned the mediation in an

                     effort to facilitate further settlement discussions.

              3.     The undersigned is now pleased to report that this case has SETTLED.

                     Counsel for the parties will be filing a stipulation for dismissal later this

                     week.



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                                                 Respectfully submitted,

                                                 s/ Howard A. Tescher
                                                 Howard A. Tescher
                                                 Fla. Bar No. 0509183
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                                                 401 E. Las Olas Boulevard, Suite 1400
                                                 Fort Lauderdale, Florida 33301
                                                 (954) 236-9600 Telephone
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                                                 e-mail: htescher@teschermediation.com



                                 CERTIFICATE OF SERVICE


            I hereby certify that a true and correct copy of the Mediator’s Report was

     electronically filed on May 5, 2019, using the CM/ECF system.



                                                 /s/ Howard A. Tescher____
                                                 HOWARD A. TESCHER




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